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                 4                                UNITED STATES DISTRICT COURT
                 5                                        DISTRICT OF NEVADA
                 6                                                   ***
                 7    DONALD J. TRUMP FOR PRESIDENT, INC.,                  Case No. 2:20-CV-1445 JCM (VCF)
                      et al,
                 8                                                                            ORDER
                                                            Plaintiff(s),
                 9
                             v.
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                      BARBARA CEGAVSKE,
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                                                          Defendant(s).
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                             Presently before the court is the motion to intervene by proposed intervenor-defendants
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                      DNC Services Corporation/Democratic National Committee, Democratic Congressional
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                      Campaign Committee, and the Nevada State Democratic Party (collectively, “proposed
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                      intervenors”).   (ECF No. 9). Plaintiffs Donald J. Trump for President, Inc., the Republican
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                      National Committee, and the Nevada Republican Party have responded with non-opposition,
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                      (ECF No. 30), and the proposed intervenors note that defendant Barbara Cegavske, Nevada
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                      Secretary of State, has consented to their intervention, (ECF No. 9).
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                             Plaintiffs challenge Nevada’s recent changes in state voting law. (ECF Nos. 1, 29). The
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                      proposed intervenors move to intervene pursuant to Federal Rule of Civil Procedure 24, arguing
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                      that the existing defendant fails to adequately represent their interests. (ECF No. 9); see also
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                      Citizens for Balanced Use v. Mont. Wilderness Ass’n, 647 F.3d 893, 899 (9th Cir. 2011) (“[T]he
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                      government’s representation of the public interest may not be ‘identical to the individual
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                      parochial interest’ of a particular group just because ‘both entities occupy the same posture in the
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                      litigation.’”). While the Nevada Secretary of State “has an undeniable interest in defending the
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James C. Mahan
U.S. District Judge
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                1     actions of state government,” the proposed intervenors claim to have a distinct interest in
                2     ensuring that voters of the Democratic Party can vote. (ECF No. 9).
                3            Here, plaintiffs have filed a notice of non-opposition to the instant motion to intervene.
                4     (ECF No. 30). Without opining on the merits, this court construes plaintiffs’ non-opposition as
                5     consent and grants this motion pursuant to Local Rule 7-2(d).1 The proposed intervenors may
                6     join this matter as defendants.
                7            Accordingly,
                8            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that the proposed intervenor-
                9     defendants    DNC     Services    Corporation/Democratic   National   Committee,     Democratic
              10      Congressional Campaign Committee, and the Nevada State Democratic Party’s motion to
              11      intervene as of right (ECF No. 9) be, and the same hereby is, GRANTED.
              12             DATED August 21, 2020.
              13                                                   __________________________________________
                                                                   UNITED STATES DISTRICT JUDGE
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                               “The failure of an opposing party to file points and authorities in response to any
              28      motion, except a motion under Fed. R. Civ. P. 56 or a motion for attorney’s fees, constitutes a
                      consent to the granting of the motion.” Local Rule 7-2(d).
James C. Mahan
U.S. District Judge                                                 -2-
